                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: TESTOSTERONE REPLACEMENT                          Case No. 1:14-cv-1748
THERAPY PRODUCTS LIABILITY                               MDL No. 2545
LITIGATION
                                                         Hon. Matthew F. Kennelly
THIS DOCUMENT RELATES TO:

Cases Vacated and Remanded by Seventh Circuit
listed herein


                CASE MANAGEMENT ORDER NO. 100 –
      ORDER OF DISMISSAL WITH RESPECT TO PFIZER DEFENDANTS
           AND ANY OTHER NON-DIVERSE DEFENDANTS FOR
 CASES REMANDED BY U.S. COURT OF APPEALS FOR THE SEVENTH CIRCUIT

       On January 19, 2018, the U.S. Court of Appeals for the Seventh Circuit affirmed this

Court’s rulings regarding the preemption defense asserted by Pfizer Inc. and/or Pharmacia &

Upjohn Company LLC (collectively “Pfizer” or “the Pfizer Defendants”) with respect to certain

cases. In certain other cases, the Seventh Circuit vacated final judgments or partial final

judgments entered by this Court due to a lack of subject matter jurisdiction and remanded the

cases to this Court for further proceedings to address the jurisdictional issues. The Seventh

Circuit also awarded costs to Pfizer.

       Counsel for the Pfizer Defendants and Plaintiffs’ counsel have met and conferred

regarding these jurisdictional issues and have agreed to dismiss with prejudice the Pfizer

Defendants and to dismiss without prejudice any non-diverse defendants from each case

remanded by the Seventh Circuit in exchange for Pfizer’s waiver of the costs awarded by the

Seventh Circuit.




                                                 1
       Cases Naming Only Pfizer Defendants and/or Non-Diverse Defendants

       The cases listed below name as defendants only the Pfizer Defendants and/or non-diverse

defendants. Based on the parties’ stipulation, IT IS HEREBY ORDERED that the cases listed

below are dismissed in their entirety. With respect to the Pfizer Defendants, the dismissals are

with prejudice; with respect to the non-diverse Defendants, where applicable, the dismissals are

without prejudice.

                                                 Non-Diverse             Master
                                Plaintiff       Defendants to be        Docket No.
  Plaintiff - Case Number                                                             Plaintiffs’ Counsel
                               Citizenship   Dismissed (Other than      Ordering
                                              Pfizer Defendants)        Dismissal

                                          Final Judgment Cases

Evans, Sr. Glenn E., 16-cv-
                                   CA        McKesson Corporation         1824              Lanier
            3668
Puryear, David, 16-cv-3650         CA         McKesson Corporation        1824              Lanier
Barrett, Thomas, 16-cv-7627        MI        [Pfizer Defendants only]     1824         Branch Law Firm
 Bowen, III, Clinton, 16-cv-
                                   MI        [Pfizer Defendants only]     1824        The Goss Law Firm
            8749
Dougherty, Michael, 15-cv-                                                            Peiffer Rosca Wolf
                                   MI        [Pfizer Defendants only]     1824
            2824                                                                     Abdullah Carr & Kane
                                                                                     Heard Robbins Cloud
Dunn, Lawrence, 16-cv-1363         MI        [Pfizer Defendants only]     1824
                                                                                              LLP
Gomez, Luiz C., 16-cv-10157        MI        [Pfizer Defendants only]     1824          Lopez McHugh
Hampton, Duane, 15-cv-9564         MI        [Pfizer Defendants only]     1824       Zoll Kranz & Borgess
Knight, Andre L., 16-cv-6039       MI        [Pfizer Defendants only]     1824         Simmons Hanly
 Lewis, Russell, 15-cv-8889        MI        [Pfizer Defendants only]     1824            Levin Simes
Lockner, Steven, 16-cv-8912        MI        [Pfizer Defendants only]     1824           Seeger Weiss
 Mangas, Brian, 16-cv-7617         MI        [Pfizer Defendants only]     1824         Branch Law Firm
 McClerkin, Duncan, 15-cv-
                                   MI        [Pfizer Defendants only]     1824         Bohrer Law Firm
           4757
Morgan, Michael, 15-cv-6038        MI        [Pfizer Defendants only]     1824           Levin Simes
 Naragon, Robert C., 15-cv-
                                   MI        [Pfizer Defendants only]     1824         Simmons Hanly
            6546
Orzel, John F., 15-cv-11598        MI        [Pfizer Defendants only]     1824           Anapol Weiss
Patrick, Tony N., 16-cv-4578       MI        [Pfizer Defendants only]     1824        Beasley Allen Crow
                                                                                     Steuve Siegel Hanson
Sawyers, Dennis, 15-cv-7590        MI        [Pfizer Defendants only]     1824
                                                                                             LLP




                                               2
                                                    Non-Diverse             Master
                                  Plaintiff        Defendants to be        Docket No.
   Plaintiff - Case Number                                                               Plaintiffs’ Counsel
                                 Citizenship    Dismissed (Other than      Ordering
                                                 Pfizer Defendants)        Dismissal
                                                                                        Heard Robbins Cloud
Stapples, Herman, 15-cv-11418         MI        [Pfizer Defendants only]      1824
                                                                                               LLP
Craig, Michael A., 17-cv-1451         MI        [Pfizer Defendants only]      1969      Wagstaff & Cartmell
  Fleeger, David, 17-cv-465           MI        [Pfizer Defendants only]      1969      Carey Danis & Lowe
  Griffith, Gary, 17-cv-558           MI        [Pfizer Defendants only]      1969        Lopez McHugh
                                                                                         Herman, Herman &
   Hitz, Frank F., 17-cv-685          MI        [Pfizer Defendants only]      1969
                                                                                               Katz


Cases Naming Pfizer Defendants and/or Non-Diverse Defendants and Other Defendants

        The cases listed below name as defendants other non-diverse parties in addition to the

Pfizer Defendants and/or non-diverse defendants.         Based on the parties’ stipulation, IT IS

HEREBY ORDERED that the cases listed below are dismissed in part: (1) with respect to the

Pfizer Defendants, the dismissals are with prejudice; and (2) with respect to the non-diverse

Defendants, where applicable, the dismissals are without prejudice. Plaintiffs’ claims pending

against any defendant not listed below shall not be affected by this Order.

                                                                            Master
                                               Non-Diverse Defendants
                                  Plaintiff                                Docket No.
  Plaintiff - Case Number                       to be Dismissed (Other                   Plaintiffs’ Counsel
                                 Citizenship                               Ordering
                                               than Pfizer Defendants)
                                                                           Dismissal

                                               Rule 54(b) Cases

Canion, Thomas, 15-cv-6448          GA          AbbVie Products LLC           1865       Beasley Allen Crow
Henderson, Ronald E., 16-cv-
                                    GA          AbbVie Products LLC           1865         Simmons Hanly
           1527
Johnson, Ralph Derrell, 16-cv-
                                    GA          AbbVie Products LLC           1865          Seeger Weiss
            1277
Linkous, Brian K., 16-cv-7186       GA          AbbVie Products LLC           1865       Matthews Law Firm
 Tallevast, John, 16-cv-1772        GA          AbbVie Products LLC           1865      MacDonald Law Group
                                                                                        Alystock Witkin, Kreis
Thompson, Roger, 16-cv-1716         GA          AbbVie Products LLC           1865
                                                                                             & Overholtz
Crawford, Edward Lee, 16-cv-
                                     FL               Anda Inc.               1865       Matthews Law Firm
           1397



                                                  3
                                                                          Master
                                              Non-Diverse Defendants
                                 Plaintiff                               Docket No.
  Plaintiff - Case Number                      to be Dismissed (Other                    Plaintiffs’ Counsel
                                Citizenship                              Ordering
                                              than Pfizer Defendants)
                                                                         Dismissal
Gagnier, Peter T., 16-cv-1349       FL               Anda Inc.             1865          Matthews Law Firm
 Jackson, Roosevelt, 16-cv-
                                    FL               Anda Inc.             1865          Matthews Law Firm
            1158
                                                                                         Law Office of Baird
   King, John, 16-cv-3194          VA            Besins Healthcare         1865
                                                                                              Brown
                                                                                         Branch Law Firm /
Baggett, Dennie, 16-cv-7404         MI        [Pfizer Defendants only]     1865
                                                                                          Meyers & Flowers
Coursen, Michael, 16-cv-2676        MI        [Pfizer Defendants only]     1865         Onder Shelton O'Leary
  Harte, Patrick, 16-cv-3946        MI        [Pfizer Defendants only]     1865         Onder Shelton O'Leary
Howse, Jr., John, 16-cv-1521        MI        [Pfizer Defendants only]     1865           Goldenberg Law
Sutphin, Anthony, 16-cv-4485        MI        [Pfizer Defendants only]     1865            Lopez McHugh
  Barton, Terry, 17-cv-2262         FL                Anda Inc.            1970          Levensten Law Firm
 Coffey, Robert J., 17-cv-626       FL                Anda Inc.            1970          Matthews Law Firm

       Each side shall bear its own costs, and Pfizer has waived its costs on appeal.

IT IS SO ORDERED.

March 2, 2018                                        _________________________________
                                                     MATTHEW F. KENNELLY
                                                     UNITED STATES DISTRICT JUDGE




                                                 4
